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  9
                          UNITED STATES DISTRICT COURT
 10
                         CENTRAL DISTRICT OF CALIFORNIA
 11
                                   SOUTHERN DIVISION
 12
 13    JANE DOE on behalf of herself and all       Case No. 8:21-cv-00338-CJC-ADS
       others similarly situated,
 14                                                Hon. Cormac J. Carney
                          Plaintiff,
 15    v.                              PLAINTIFF’S SEPARATE
                                       STATEMENT OF
 16    MINDGEEK USA INCORPORATED,      UNCONTROVERTED FACTS IN
       MINDGEEK S.A.R.L., MG           SUPPORT OF PLAINTIFF’S
 17    FREESITES, LTD (D/B/A PORNHUB), MOTION FOR PARTIAL
       MG FREESITES II, LTD, MG        SUMMARY JUDGMENT
 18    CONTENT RT LIMITED, AND 9219-
       1568 QUEBEC, INC. (D/B/A        UNREDACTED VERSION
 19    MINDGEEK),                      PROPOSED TO BE FILED
                                       UNDER SEAL
 20                   Defendants.
 21                                    Hearing: June 3, 2024
                                       Time: 1:30 p.m.
 22                                    Place: Courtroom 9B
 23
                                                   Pretrial Conference: Aug. 5, 2024
 24                                                Trial Date: Aug. 20, 2024
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